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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 1:18-cv-20818-GAYLES

  PDVSA US LITIGATION TRUST,

            Plaintiff,

  v.

  LUKOIL PAN AMERICAS LLC, et al.,

        Defendants.
  ______________________________________________/

                                                 ORDER

  Having considered Plaintiff’s Emergency Motion for Enforcement of Court’s Temporary

  Restraining Order [ECF No. 60] (“Motion”), it is hereby ORDERED:

            1.      Federal Express shall withhold shipment of a package with tracking number

  789960538207 to Geneva, Switzerland, and retain possession of the package until further order

  of this Court.

            2.       The Court will hold a hearing on the additional relief requested in the Motion on

  Tuesday, March 13, 2018, at 9:30 a.m. in the Miami Division before Judge Darrin P. Gayles.

            3.      This Court’s Temporary Restraining Order [ECF No. 9] remains in full force and

  effect.

            4.      Plaintiff shall serve this Order on Federal Express and other parties as warranted

  in advance of the hearing.

            DONE AND ORDERED in Chambers at Miami, Florida, this 9th day of March, 2018, at
  10:20 p.m.



                                                  ________________________________
                                                  DARRIN P. GAYLES
                                                  UNITED STATES DISTRICT JUDGE
